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 Fill in this information to identify your case:

     United States Bankruptcy Court for the:
         Eastern District Of Arkansas
     ______________

     Case number (If known): _________________________ Chapter you are filing under:
                                                          X
                                                               Chapter 7
                                                              Chapter 11
                                                              Chapter 12
                                                              Chapter 13                                               Check if this is an
                                                                                                                           amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                       12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
same person must be Debtor 1 in all of the forms.
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.


Part 1:       Identify Yourself

                                        About Debtor 1:                                           About Debtor 2 (Spouse Only in a Joint Case):
1.    Your full name
       Write the name that is on your
       government-issued picture        Clifton
                                        __________________________________________________        Regina
                                                                                                  __________________________________________________
       identification (for example,     First name                                                First name
       your driver’s license or         D.
                                        __________________________________________________        A.
                                                                                                  __________________________________________________
       passport).                       Middle name                                               Middle name

       Bring your picture               Briggs
                                        __________________________________________________        Briggs
                                                                                                  __________________________________________________
       identification to your meeting   Last name                                                 Last name
       with the trustee.                ___________________________                               ___________________________
                                        Suffix (Sr., Jr., II, III)                                Suffix (Sr., Jr., II, III)




2.    All other names you                d/b/a Current River Beach Resort
                                        __________________________________________________        d/b/a Current River Beach Resort
                                                                                                  __________________________________________________
      have used in the last 8           First name                                                First name
      years
                                        __________________________________________________        __________________________________________________
       Include your married or          Middle name                                               Middle name
       maiden names.                    __________________________________________________        __________________________________________________
                                        Last name                                                 Last name

                                        __________________________________________________        __________________________________________________
                                        First name                                                First name

                                        __________________________________________________        __________________________________________________
                                        Middle name                                               Middle name
                                        __________________________________________________        __________________________________________________
                                        Last name                                                 Last name




3.    Only the last 4 digits of
      your Social Security              xxx    – xx – ____
                                                      3    8
                                                           ____ 7
                                                                ____ 0
                                                                     ____                        xxx    – xx – ____
                                                                                                               9    9
                                                                                                                    ____ 0
                                                                                                                         ____ 1
                                                                                                                              ____
      number or federal                 OR                                                       OR
      Individual Taxpayer
      Identification number             9 xx – xx – ____ ____ ____ ____                          9 xx – xx – ____ ____ ____ ____
      (ITIN)

Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                           page 1
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Debtor 1        Clifton D. Briggs
                _______________________________________________________                            Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




                                           About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):


4.    Any business names
      and Employer                          I have not used any business names or EINs.                 I have not used any business names or EINs.
      Identification Numbers
      (EIN) you have used in               Current River Beach Resort
                                           _________________________________________________            Current River Beach Resort
                                                                                                        _________________________________________________
      the last 8 years                     Business name                                                Business name

      Include trade names and
                                           _________________________________________________            _________________________________________________
      doing business as names              Business name                                                Business name


                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                           EIN                                                          EIN

                                           ___ ___ – ___ ___ ___ ___ ___ ___ ___                        ___ ___ – ___ ___ ___ ___ ___ ___ ___
                                           EIN                                                          EIN




5.    Where you live                                                                                    If Debtor 2 lives at a different address:


                                           33 Ash Street
                                           _________________________________________________            _________________________________________________
                                           Number     Street                                            Number     Street


                                           _________________________________________________            _________________________________________________


                                           Ravenden Springs                AR       72460
                                           _________________________________________________            _________________________________________________
                                           City                            State   ZIP Code             City                            State   ZIP Code

                                           RANDOLPH
                                           _________________________________________________            _________________________________________________
                                           County                                                       County


                                           If your mailing address is different from the one            If Debtor 2’s mailing address is different from
                                           above, fill it in here. Note that the court will send        yours, fill it in here. Note that the court will send
                                           any notices to you at this mailing address.                  any notices to this mailing address.


                                           P. O. Box 88
                                           _________________________________________________            P. O. Box 88
                                                                                                        _________________________________________________
                                           Number     Street                                            Number     Street


                                           _________________________________________________            _________________________________________________
                                           P.O. Box                                                     P.O. Box

                                           Ravenden Springs                AR       72460
                                           _________________________________________________            Ravenden Springs                AR      72460
                                                                                                        _________________________________________________
                                           City                            State   ZIP Code             City                            State   ZIP Code




6.    Why you are choosing                 Check one:                                                   Check one:
      this district to file for
      bankruptcy                            Over the last 180 days before filing this petition,
                                           X
                                                                                                        
                                                                                                        X
                                                                                                          Over the last 180 days before filing this petition,
                                               I have lived in this district longer than in any            I have lived in this district longer than in any
                                               other district.                                             other district.

                                            I have another reason. Explain.                             I have another reason. Explain.
                                               (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)
                                               ________________________________________                    ________________________________________
                                               ________________________________________                    ________________________________________
                                               ________________________________________                    ________________________________________
                                               ________________________________________                    ________________________________________



     Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                   page 2
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Debtor 1        Clifton D. Briggs
                _______________________________________________________                            Case number (if known)_____________________________________
                First Name   Middle Name             Last Name




Part 2:       Tell the Court About Your Bankruptcy Case


7.    The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
      Bankruptcy Code you                  for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
      are choosing to file
      under
                                           
                                           X Chapter 7



                                            Chapter 11
                                            Chapter 12
                                            Chapter 13

8.    How you will pay the fee             
                                           X I will pay the entire fee when I file my petition. Please check with the clerk’s office in your

                                              local court for more details about how you may pay. Typically, if you are paying the fee
                                              yourself, you may pay with cash, cashier’s check, or money order. If your attorney is
                                              submitting your payment on your behalf, your attorney may pay with a credit card or check
                                              with a pre-printed address.

                                            I need to pay the fee in installments. If you choose this option, sign and attach the
                                              Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                            I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                              By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                              less than 150% of the official poverty line that applies to your family size and you are unable to
                                              pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                              Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9.    Have you filed for                   
                                           X
                                             No
      bankruptcy within the
      last 8 years?                         Yes.    District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY

                                                     District __________________________ When     _______________ Case number ___________________________
                                                                                                  MM / DD / YYYY



10.   Are any bankruptcy                   
                                           X No
      cases pending or being
      filed by a spouse who is              Yes.    Debtor _________________________________________________ Relationship to you      _____________________
      not filing this case with                      District __________________________ When     _______________ Case number, if known____________________
      you, or by a business                                                                       MM / DD / YYYY
      partner, or by an
      affiliate?
                                                     Debtor _________________________________________________ Relationship to you      _____________________

                                                     District __________________________ When     _______________ Case number, if known____________________
                                                                                                  MM / DD / YYYY



11.   Do you rent your                      No.     Go to line 12.
      residence?                           
                                           X
                                             Yes.    Has your landlord obtained an eviction judgment against you?

                                                     
                                                     X
                                                         No. Go to line 12.
                                                        Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                         part of this bankruptcy petition.




     Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                   page 3
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Debtor 1        Clifton D. Briggs
                _______________________________________________________                                    Case number (if known)_____________________________________
                First Name        Middle Name             Last Name




Part 3:       Report About Any Businesses You Own as a Sole Proprietor


12.   Are you a sole proprietor                  No. Go to Part 4.
      of any full- or part-time
      business?                                 
                                                X
                                                  Yes. Name and location of business
      A sole proprietorship is a
      business you operate as an                         Current River Beach Resort
                                                         _______________________________________________________________________________________
                                                         Name of business, if any
      individual, and is not a
      separate legal entity such as
      a corporation, partnership, or                     7937 Hwy. 67 North
                                                         _______________________________________________________________________________________
                                                         Number    Street
      LLC.
      If you have more than one
                                                         _______________________________________________________________________________________
      sole proprietorship, use a
      separate sheet and attach it
                                                         Biggers
                                                         _______________________________________________          AR
                                                                                                                  _______      72413
                                                                                                                               __________________________
      to this petition.
                                                          City                                                    State        ZIP Code


                                                         Check the appropriate box to describe your business:
                                                            Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                            Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                            Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                            Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                         
                                                         X
                                                             None of the above
                                                                                                                 See Attachment 1

13.   Are you filing under                      If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
      Chapter 11 of the                         can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
      Bankruptcy Code and                       most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or if
                                                any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
      are you a small business
      debtor?
                                                
                                                X
                                                  No.    I am not filing under Chapter 11.
      For a definition of small
      business debtor, see                       No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
      11 U.S.C. § 101(51D).                              the Bankruptcy Code.

                                                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                                         Bankruptcy Code.


Part 4:       Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


14.   Do you own or have any                    
                                                X No

      property that poses or is
      alleged to pose a threat                   Yes.    What is the hazard?      ________________________________________________________________________
      of imminent and
      identifiable hazard to                                                       ________________________________________________________________________
      public health or safety?
      Or do you own any
      property that needs
                                                          If immediate attention is needed, why is it needed? _______________________________________________
      immediate attention?
      For example, do you own                                                      ________________________________________________________________________
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?
                                                          Where is the property? ________________________________________________________________________
                                                                                   Number         Street


                                                                                   ________________________________________________________________________

                                                                                  ________________________________________ _______            ____________________
                                                                                  City                                     State              ZIP Code


  Official Form 101                                       Voluntary Petition for Individuals Filing for Bankruptcy                                    page 4
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Debtor 1        Clifton D. Briggs
                _______________________________________________________                                    Case number (if known)_____________________________________
                First Name     Middle Name              Last Name




Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling

                                             About Debtor 1:                                                     About Debtor 2 (Spouse Only in a Joint Case):
15.   Tell the court whether
      you have received a
      briefing about credit                  You must check one:                                                 You must check one:
      counseling.
                                              I received a briefing from an approved credit
                                             X
                                                                                                                  I received a briefing from an approved credit
                                                                                                                  X

                                                 counseling agency within the 180 days before I                       counseling agency within the 180 days before I
      The law requires that you                  filed this bankruptcy petition, and I received a                     filed this bankruptcy petition, and I received a
      receive a briefing about credit            certificate of completion.                                           certificate of completion.
      counseling before you file for
                                                 Attach a copy of the certificate and the payment                     Attach a copy of the certificate and the payment
      bankruptcy. You must
                                                 plan, if any, that you developed with the agency.                    plan, if any, that you developed with the agency.
      truthfully check one of the
      following choices. If you
      cannot do so, you are not
                                              I received a briefing from an approved credit                      I received a briefing from an approved credit
                                                 counseling agency within the 180 days before I                       counseling agency within the 180 days before I
      eligible to file.                          filed this bankruptcy petition, but I do not have a                  filed this bankruptcy petition, but I do not have a
                                                 certificate of completion.                                           certificate of completion.
      If you file anyway, the court
                                                 Within 14 days after you file this bankruptcy petition,              Within 14 days after you file this bankruptcy petition,
      can dismiss your case, you
                                                 you MUST file a copy of the certificate and payment                  you MUST file a copy of the certificate and payment
      will lose whatever filing fee
                                                 plan, if any.                                                        plan, if any.
      you paid, and your creditors
      can begin collection activities         I certify that I asked for credit counseling                       I certify that I asked for credit counseling
      again.                                     services from an approved agency, but was                            services from an approved agency, but was
                                                 unable to obtain those services during the 7                         unable to obtain those services during the 7
                                                 days after I made my request, and exigent                            days after I made my request, and exigent
                                                 circumstances merit a 30-day temporary waiver                        circumstances merit a 30-day temporary waiver
                                                 of the requirement.                                                  of the requirement.
                                                 To ask for a 30-day temporary waiver of the                          To ask for a 30-day temporary waiver of the
                                                 requirement, attach a separate sheet explaining                      requirement, attach a separate sheet explaining
                                                 what efforts you made to obtain the briefing, why                    what efforts you made to obtain the briefing, why
                                                 you were unable to obtain it before you filed for                    you were unable to obtain it before you filed for
                                                 bankruptcy, and what exigent circumstances                           bankruptcy, and what exigent circumstances
                                                 required you to file this case.                                      required you to file this case.
                                                 Your case may be dismissed if the court is                           Your case may be dismissed if the court is
                                                 dissatisfied with your reasons for not receiving a                   dissatisfied with your reasons for not receiving a
                                                 briefing before you filed for bankruptcy.                            briefing before you filed for bankruptcy.
                                                 If the court is satisfied with your reasons, you must                If the court is satisfied with your reasons, you must
                                                 still receive a briefing within 30 days after you file.              still receive a briefing within 30 days after you file.
                                                 You must file a certificate from the approved                        You must file a certificate from the approved
                                                 agency, along with a copy of the payment plan you                    agency, along with a copy of the payment plan you
                                                 developed, if any. If you do not do so, your case                    developed, if any. If you do not do so, your case
                                                 may be dismissed.                                                    may be dismissed.
                                                 Any extension of the 30-day deadline is granted                      Any extension of the 30-day deadline is granted
                                                 only for cause and is limited to a maximum of 15                     only for cause and is limited to a maximum of 15
                                                 days.                                                                days.

                                              I am not required to receive a briefing about                      I am not required to receive a briefing about
                                                 credit counseling because of:                                        credit counseling because of:

                                                  Incapacity.      I have a mental illness or a mental                Incapacity.      I have a mental illness or a mental
                                                                    deficiency that makes me                                             deficiency that makes me
                                                                    incapable of realizing or making                                     incapable of realizing or making
                                                                    rational decisions about finances.                                   rational decisions about finances.
                                                  Disability.      My physical disability causes me                   Disability.      My physical disability causes me
                                                                    to be unable to participate in a                                     to be unable to participate in a
                                                                    briefing in person, by phone, or                                     briefing in person, by phone, or
                                                                    through the internet, even after I                                   through the internet, even after I
                                                                    reasonably tried to do so.                                           reasonably tried to do so.
                                                  Active duty.     I am currently on active military                  Active duty.     I am currently on active military
                                                                    duty in a military combat zone.                                      duty in a military combat zone.
                                                 If you believe you are not required to receive a                     If you believe you are not required to receive a
                                                 briefing about credit counseling, you must file a                    briefing about credit counseling, you must file a
                                                 motion for waiver of credit counseling with the court.               motion for waiver of credit counseling with the court.




  Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                           page 5
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Debtor 1       Clifton D. Briggs
               _______________________________________________________                                  Case number (if known)_____________________________________
               First Name    Middle Name             Last Name




Part 6:      Answer These Questions for Reporting Purposes

                                           16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
16.   What kind of debts do                     as “incurred by an individual primarily for a personal, family, or household purpose.”
      you have?
                                                
                                                X
                                                    No. Go to line 16b.
                                                   Yes. Go to line 17.

                                           16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                                money for a business or investment or through the operation of the business or investment.
                                                   No. Go to line 16c.
                                                
                                                X
                                                    Yes. Go to line 17.

                                           16c. State the type of debts you owe that are not consumer debts or business debts.
                                                _______________________________________________________________

17.   Are you filing under
      Chapter 7?                            No.    I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after           
                                           X
                                             Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      any exempt property is                        administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      excluded and                                  
                                                    X
                                                        No
      administrative expenses
      are paid that funds will be                      Yes
      available for distribution
      to unsecured creditors?

18.   How many creditors do                
                                           X
                                             1-49                                      1,000-5,000                            25,001-50,000
      you estimate that you                 50-99                                     5,001-10,000                           50,001-100,000
      owe?                                  100-199                                   10,001-25,000                          More than 100,000
                                            200-999
19.   How much do you                      
                                           X
                                             $0-$50,000                                $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your assets to               $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      be worth?                             $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                            $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
20.   How much do you                       $0-$50,000                               
                                                                                      X
                                                                                        $1,000,001-$10 million                 $500,000,001-$1 billion
      estimate your liabilities             $50,001-$100,000                          $10,000,001-$50 million                $1,000,000,001-$10 billion
      to be?                                $100,001-$500,000                         $50,000,001-$100 million               $10,000,000,001-$50 billion
                                            $500,001-$1 million                       $100,000,001-$500 million              More than $50 billion
Part 7:      Sign Below

                                           I have examined this petition, and I declare under penalty of perjury that the information provided is true and
For you                                    correct.
                                           If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                           of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                           under Chapter 7.
                                           If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                           this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                           I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                           I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                           with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                           18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                              /s/Clifton Briggs
                                              ______________________________________________               _____________________________
                                                                                                               /s/Regina Briggs
                                              Signature of Debtor 1                                            Signature of Debtor 2

                                                          01/29/2018
                                              Executed on _________________                                                01/29/2018
                                                                                                               Executed on __________________
                                                                 MM   / DD   / YYYY                                          MM / DD     / YYYY


  Official Form 101                                  Voluntary Petition for Individuals Filing for Bankruptcy                                       page 6
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Debtor 1     Clifton D. Briggs
             _______________________________________________________                               Case number (if known)_____________________________________
             First Name   Middle Name             Last Name




                                        I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility
For your attorney, if you are           to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
represented by one                      available under each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s)
                                        the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no
If you are not represented              knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.
by an attorney, you do not
need to file this page.
                                        _________________________________
                                            /s/ Jeannette A. Robertson                                      Date           _________________
                                                                                                                           01/29/2018
                                           Signature of Attorney for Debtor                                                MM    /   DD / YYYY




                                           Jeannette A. Robertson
                                           _________________________________________________________________________________________________
                                           Printed name

                                           Robertson Law Firm
                                           _________________________________________________________________________________________________
                                           Firm name

                                           408 W. Jefferson Ave., Suite A
                                           _________________________________________________________________________________________________
                                           Number Street

                                           _________________________________________________________________________________________________

                                           Jonesboro
                                           ______________________________________________________ AR
                                                                                                  ____________ 72401
                                                                                                               ______________________________
                                           City                                                   State        ZIP Code




                                                         (870) 932-6606
                                           Contact phone _____________________________________             Email address   rlf@robertsonlawfirm.biz
                                                                                                                           ______________________________




                                           84131
                                           ______________________________________________________ AR
                                                                                                  ____________
                                           Bar number                                             State




  Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                       page 7
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                                     Attachment
                       Debtor: Clifton D. Briggs    Case No:

Attachment 1: Additional Sole Proprietorships
     Name of Business: Current River Beach Resort
     Address of Business: 7937 Hwy. 67 North
                        Biggers, Arkansas 72413
     Nature of Business: None of the Above
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 Fill in this information to identify your case:                                                       Check one box only as directed in this form and in
                                                                                                       Form 122A-1Supp:
 Debtor 1          Clifton D. Briggs
                   __________________________________________________________________
                     First Name             Middle Name               Last Name
                                                                                                       
                                                                                                       X
                                                                                                           1. There is no presumption of abuse.
 Debtor 2            Regina A. Briggs
                     ________________________________________________________________
 (Spouse, if filing) First Name             Middle Name               Last Name                           2. The calculation to determine if a presumption of
                                                                                                              abuse applies will be made under Chapter 7
                                              EASTERN DISTRICT OF ARKANSAS
 United States Bankruptcy Court for the: ____________________________________________
                                                                                                              Means Test Calculation (Official Form 122A–2).
 Case number         ___________________________________________                                          3. The Means Test does not apply now because of
 (If known)                                                                                                   qualified military service but it could apply later.


                                                                                                        Check if this is an amended filing

Official Form 122A─1
Chapter 7 Statement of Your Current Monthly Income                                                                                                            12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

 Part 1:         Calculate Your Current Monthly Income

 1. What is your marital and filing status? Check one only.
      Not married. Fill out Column A, lines 2-11.
     
     X Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.


      Married and your spouse is NOT filing with you. You and your spouse are:
        Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
        Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                  under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                  spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
      Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
      bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
      August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
      Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
      income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                       Column A              Column B
                                                                                                       Debtor 1              Debtor 2 or
                                                                                                                             non-filing spouse
 2. Your gross wages, salary, tips, bonuses, overtime, and commissions
    (before all payroll deductions).                                                                          0.00
                                                                                                        $_________                   0.00
                                                                                                                              $__________

 3. Alimony and maintenance payments. Do not include payments from a spouse if
    Column B is filled in.                                                                                    0.00
                                                                                                        $_________                   0.00
                                                                                                                              $__________

 4. All amounts from any source which are regularly paid for household expenses
    of you or your dependents, including child support. Include regular contributions
    from an unmarried partner, members of your household, your dependents, parents,
    and roommates. Include regular contributions from a spouse only if Column B is not
    filled in. Do not include payments you listed on line 3.                                                  0.00
                                                                                                        $_________                   0.00
                                                                                                                              $__________

 5. Net income from operating a business, profession,
                                                                   Debtor 1       Debtor 2
    or farm
    Gross receipts (before all deductions)                              800.00
                                                                      $______       0.00
                                                                                 $______
                                                                               _         _
     Ordinary and necessary operating expenses                    –   $______ –_ $______
                                                                         0.00       0.00
                                                                                         _
                                                                                              Copy
     Net monthly income from a business, profession, or farm            800.00
                                                                      $______            0.00 here
                                                                                      $______           $_________
                                                                                                            800.00                   0.00
                                                                                                                              $__________

 6. Net income from rental and other real property                 Debtor 1       Debtor 2
    Gross receipts (before all deductions)                              0.00
                                                                    $______            0.00
                                                                                   $______
                                                                                  _           _
     Ordinary and necessary operating expenses                    – $______
                                                                       0.00 – $______
                                                                            _
                                                                                 0.00
                                                                                      _
                                                                                              Copy
     Net monthly income from rental or other real property               0.00
                                                                      $______             0.00 here
                                                                                      $______                 0.00
                                                                                                        $_________                   0.00
                                                                                                                              $__________
 7. Interest, dividends, and royalties                                                                  $_________            $__________
                                                                                                                                     0.00



Official Form 122A-1                          Chapter 7 Statement of Your Current Monthly Income                                                       page 1
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Debtor 1             Clifton D. Briggs
                     _______________________________________________________                                                    Case number (if known)_____________________________________
                     First Name              Middle Name                      Last Name



                                                                                                                                   Column A                  Column B
                                                                                                                                   Debtor 1                  Debtor 2 or
                                                                                                                                                             non-filing spouse

 8. Unemployment compensation                                                                                                        $__________
                                                                                                                                            0.00                        0.00
                                                                                                                                                                $___________
     Do not enter the amount if you contend that the amount received was a benefit
     under the Social Security Act. Instead, list it here: ................................ 
           For you ....................................................................................         0.00
                                                                                                          $______________
           For your spouse ....................................................................           $______________
                                                                                                                0.00
 9. Pension or retirement income. Do not include any amount received that was a
    benefit under the Social Security Act.                                                                                                  0.00
                                                                                                                                     $__________                        0.00
                                                                                                                                                                $___________
 10. Income from all other sources not listed above. Specify the source and amount.
     Do not include any benefits received under the Social Security Act or payments received
     as a victim of a war crime, a crime against humanity, or international or domestic
     terrorism. If necessary, list other sources on a separate page and put the total below.

        ______________________________________                                                                                       $_________                 $___________
        ______________________________________                                                                                       $_________                 $___________
        Total amounts from separate pages, if any.                                                                                + $_________
                                                                                                                                          0.00               + $___________
                                                                                                                                                                       0.00

 11. Calculate your total current monthly income. Add lines 2 through 10 for each
     column. Then add the total for Column A to the total for Column B.                                                                  800.00
                                                                                                                                     $_________
                                                                                                                                                         +              0.00
                                                                                                                                                                $___________
                                                                                                                                                                                    =        800.00
                                                                                                                                                                                        $__________
                                                                                                                                                                                        Total current
                                                                                                                                                                                        monthly income

 Part 2:            Determine Whether the Means Test Applies to You

 12. Calculate your current monthly income for the year. Follow these steps:
     12a.        Copy your total current monthly income from line 11. ..................................................................................... Copy line 11 here           800.00
                                                                                                                                                                                    $__________

                 Multiply by 12 (the number of months in a year).                                                                                                                   x 12
     12b.        The result is your annual income for this part of the form.                                                                                                 12b.       9,600.00
                                                                                                                                                                                    $__________

 13. Calculate the median family income that applies to you. Follow these steps:

     Fill in the state in which you live.
                                                                                                          Arkansas

     Fill in the number of people in your household.
                                                                                                          2
     Fill in the median family income for your state and size of household. ................................................................................................. 13.      50,594.00
                                                                                                                                                                                    $__________
     To find a list of applicable median income amounts, go online using the link specified in the separate
     instructions for this form. This list may also be available at the bankruptcy clerk’s office.
 14. How do the lines compare?

     14a. 
          X Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                     Go to Part 3.

     14b.  Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                      Go to Part 3 and fill out Form 122A–2.

 Part 3:             Sign Below


                    By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


                          /s/Clifton Briggs
                          __________________________________________________________                                         ______________________________________
                                                                                                                               /s/Regina Briggs
                          Signature of Debtor 1                                                                               Signature of Debtor 2

                               01/29/2018
                         Date _________________                                                                                     01/29/2018
                                                                                                                              Date _________________
                              MM / DD / YYYY                                                                                       MM / DD / YYYY
                           If you checked line 14a, do NOT fill out or file Form 122A–2.
                           If you checked line 14b, fill out Form 122A–2 and file it with this form.
¯¯¯¯¯


Official Form 122A-1                                                   Chapter 7 Statement of Your Current Monthly Income                                                                 page 2
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1st Choice Healthcare507.64           Air Evac Lifeteam              Albertelli Law
P.O. Box 83                           P.O. Box 106                   1 Information Way, Suite 201
Corning, AR 72422                     West Plains, MO 65775          Little Rock, AR 72202



Associated Radiologists LTD           Bank of America                Bank of Armerica
P.O. Box 56379                        P. O. Box 660807               P.O. Box 660807
Little Rock, AR 72215                 Dallas, TX 75266-0807          Dallas, TX 75266-0807



Brown's Construction                  CACI                           Capital Management Services,
6 Bear Bluff Trail                    P.O. Box 1280                  LP
Ravenden, AR 72459                    Oaks, PA 19456-1280            698 1/2 South Odgen Street
                                                                     Buffalo, NY 14206-2317


Cardiology Associates                 Clay County Regional Water     DRS Anatomic Pathology
407 Virginia Drive                    Distribu                       P.O. Box 1326
Batesville, AR 72501                  P.O. box 10                    Jonesboro, AR 72403
                                      McDougal, AR 72441


Five Rivers Medical Center            Internal Revenue Service,      James Brown
2801 Medical Center Drive             Departmen                      P. O. Box 222
Pocahontas, AR 72455                  P. O. Box 145566, STOP         Ravenden, AR 72459
                                      813G CSC
                                      Cincinnati, OH 45250

James Brown d/b/a Brown's             Promed Ambulance -             Randolph County Tax Collector
Construct                             Randolph County                107 West Broadway Street
P.O. Box 222                          P.O. Box 11330                 Suite H
Ravenden, AR 72459                    El Dorado, AR 71730            Pocahontas, AR 72455-3412


Richard Rhodes, Esq.                  RMC of America                 St. Bernards Healthcare
P. O. Box 971                         P.O. box 21030                 P. O. Box 1713
Osceola, AR 72370                     White Hall, AR 71612-1030      Jonesboro, AR 72403-1713



U. S. Small Business                  White River Emergency          WRMC Hospitalist
Administration                        Group LLC                      P.O. Box 2197
P. O. Box 740192                      P.O. Box 731584                Batesville, AR 72503-2197
Atlanta, GA                           Dallas, TX 75373-1584


Zoll
P.O. Box 644321
Pittsburgh, PA 15264-4321
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                                                 UNITED STATES BANKRUPTCY COURT
                                                        Eastern District of Arkansas


         Clifton D. Briggs and Regina A. Briggs
In re:                                                                                               Case No.
                                              Debtors
                                                                                                     Chapter    7


                                     VERIFICATION OF CREDITOR MATRIX
              The above named debtor(s), or debtor’s attorney if applicable, do hereby certify under penalty of perjury that the
         attached Master Mailing List of creditors is complete, correct and consistent with the debtor's schedules pursuant to
         Local Bankruptcy Rules and I/we assume all responsibility for errors and omissions.




         Dated:      January 29, 2018                                         Signed:   /s/Clifton Briggs




         Dated:      January 29, 2018                                         Signed:   /s/Regina Briggs
